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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


      TRUTEK CORP.,                    Case No. 2:21-cv-10312

                       Plaintiff,      Hon. Stephen J. Murphy, III

      v.

    BLUEWILLOW BIOLOGICS,
    INC., et. al.

                  Defendants.


    PLAINTIFF'S RESPONSIVE BRIEF ON CLAIM CONSTRUCTION
                ISSUES FOR MARKMAN HEARING
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                             I.     INTRODUCTION

          On September 8, 2022, the Parties to the above captioned matter filed

   simultaneous opening claim construction briefs. Both parties presented their

   positions on disputed claim terms. At issue in this matter are claims 1, 2, 6,

   and 7 of U.S. Patent No. 8,163,802 ("the '802 Patent"). The parties had

   exchanged proposed claim term constructions on July 21, 2022 (Plaintiff) and

   on August 17, 2022 (Defendant)

          In its opening brief, Defendant BlueWillow Biologics, Inc.

   ("BlueWillow") alleged that various terms appearing in claims 1 and 2 are

   "indefinite." Citing U.S. Supreme Court precedent, BlueWillow stated that,

   "[A] patent is invalid for indefiniteness if its claims, read in light of the

   specification delineating the patent, and the prosecution history, fail to inform

   with reasonable certainty, those skilled in the art about the scope of the

   invention." Nautilus, Inc. v. Biosig Instruments, Inc., 572 U.S. 898, 901

   (2014). In its opening claim construction brief, Plaintiff and patent owner,

   Trutek Corp. ("Trutek"), presented arguments demurring BlueWillow's

   allegations of indefiniteness of the disputed claim terms.

          The disputed claim terms in claims 1 and 2 are:

   ▪   electrostatically inhibiting,
   ▪   electrostatically attracting,
   ▪   adequate impermeability, and
   ▪   render[s] said particulate matter harmless.

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          On Page 16 of its opening brief, BlueWillow presented the following

   table comparing BlueWillow's and Trutek's proposed construction of the

   preambles of claims 1 and 2 of the '802 Patent.

    Claim Term                    BlueWillow's              Trutek's Construction
                                  Construction
    "A method for                 Preamble is limiting;     Claim 1 is a method
    electrostatically             plain and ordinary        claim, which recites
    inhibiting harmful            meaning, no further       preventing an individual
    particulate matter from       construction necessary.   from becoming infected
    infecting an individual                                 from inhaling harmful
    through nasal inhalation                                airborne contaminant
    wherein a formulation is                                particles.
    applied to skin or tissue
    of nasal passages of the                                A formulation, which
    individual in a thin film,                              exhibits a static electrical
    said method comprising"                                 charge, is applied to the
    (claim 1)                                               individual's nostrils, and
                                                            it forms a statically
                                                            charged thin film
                                                            thereon.
    "A formulation for            Preamble is limiting;     A formulation, when
    electrostatically             plain and ordinary        applied to a person's
    inhibiting harmful            meaning, no further       nostrils, forms a thin film
    particulate matter from       construction necessary.   therein and prevents that
    infecting an individual                                 person from inhaling
    through nasal inhalation                                harmful airborne
    wherein the formulation                                 particles.
    is applied to skin or
    tissue of nasal passages                                The formulation contains
    of the individual in a thin                             at least one cationic
    film, said formulation                                  agent. A cationic agent
    comprising at least one                                 produces a positive
    cationic agent and at                                   electrostatic charge. The
    least one biocidic agent,                               formulation also contains
    and wherein said                                        a biocide.
    formulation once applied
    (Claim 2)



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          On Page 20, BlueWillow next posted a table comparing construction of

   the remaining terms:

    Claim Term                   BlueWillow's               Trutek's Construction
                                 Construction
    "a) electrostatically        Plain and ordinary      The formulation's
    attracting the particulate   meaning, no constructionelectrostatically charged
    matter to the thin film"     necessary.              thin film attracts
    (claim 1)                                            oppositely charged
                                                         harmful particles.
    "b) holding the             Plain and ordinary       The thin film formulation
    particulate matter in       meaning, no construction is designed to adhere to
    place by adjusting the      necessary.               the skin or tissue of the
    adhesion of the thin film                            nostrils and to be
    to permit said thin film to                          impermeable.
    stick to the skin or tissue
    and by allowing the                                  The thin film captures
    cohesion of the                                      and holds the harmful
    formulation to provide                               particles (that were
    adequate impermeability                              attracted to it) in place.
    to the thin film; and"
    (claim 1)
    "c) inactivating the        Plain and ordinary       The formulation contains
    particulate matter by       meaning, no construction at least one ingredient
    adding at least one         necessary.               that inactivates the
    ingredient that would                                captured harmful
    render said particulate                              particles and renders
    matter harmless"                                     them harmless.
    (claim 1)
    "a) electrostatically       Plain and ordinary       Oppositely statically
    attracts the particulate    meaning, no construction charged harmful particles
    matter to the thin film"    necessary.               are attracted to the
    (claim 2)                                            formulations thin film.




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    Claim Term                   BlueWillow's               Trutek's Construction
                                 Construction
    "b) holds the particulate    Plain and ordinary         The thin film
    matter in place by           meaning, no construction   formulation is designed
    adjusting the adhesion of    necessary.                 to adhere to the skin or
    the thin film to permit                                 tissue of the nostrils and
    said thin film to stick to                              to be impermeable.
    the skin or tissue and by
    adjusting the cohesion of                               The thin film captures
    the formulation to                                      and holds the harmful
    provide adequate                                        particles (that were
    impermeability to the                                   attracted to it) in place.
    thin film"
    "c) inactivates the          Plain and ordinary       The biocide in the
    particulate matter and       meaning, no construction formulation inactivates
    renders said particulate     necessary.               the captured harmful
    matter harmless." (claim                              particles and renders
    2)                                                    them harmless.
    "the at least one cationic   Plain and ordinary       The "at least one cationic
    agent is Benzalkonium        meaning, no construction agent" referred to in
    Chloride." (claim 6)         necessary.               claim 2 is Benzalkonium
                                                          Chloride, which is a
                                                          known cationic agent.
    "the at least one biocidic   Plain and ordinary       The "at least one biocidic
    agent is Benzalkonium        meaning, no construction agent" referred to in
    Chloride." (claim 7)         necessary.               claim 2 is Benzalkonium
                                                          Chloride, which is a
                                                          known biocidic agent.

          In a footnote on Page 20, BlueWillow stated, "[f]or clarity, Blue

   Willow's statement that plain and ordinary meaning applies and no further

   construction is necessary applies to the remainder of the claim language apart

   from the terms above that Blue Willow contends render the claims indefinite."

   Yet, BlueWillow appears to understand construction of each claim itself as a

   whole by stating that "no further construction is necessary."



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         Trutek contends that based on claim construction principles, in light of

   the specification and prosecution history, all claim terms are definite and

   unambiguous and allow a person having ordinary skill in the art to understand

   the scope of the claims. Moreover, in light of the specification, claims, and

   prosecution history, a person of ordinary skill would be able to make and use

   the invention. 35 U.S.C. §112(a) and 35 U.S.C. §112(b).

         Trutek agrees with BlueWillow that "[i]ndefiniteness is a question of

   law 'inextricably intertwined with claim construction,'" citing Atmel Corp. ,v.

   Info. Storage Devices, Inc., 198 F.3d 1374, 1379 (Fed. Cir. 1999).

         Trutek respectfully submits its responsive claim construction brief, the

   purpose of which is to respond to arguments and allegations made by

   BlueWillow in its opening brief regarding the disputed claim terms. It will

   not repeat any material unless it is associated with arguments and allegations

   presented by BlueWillow in its opening brief.

         The Court filing of BlueWillow's opening claim construction brief is

   accompanied by a declaration by BlueWillow's expert, Dr. Mansoor M. Amiji

   ("Amiji"). Amiji's declaration is extrinsic evidence, which should be given

   less weight than the intrinsic evidence     To the extent that Amiji will be

   permitted to offer testimonial evidence, Trutek's counsel should have the right

   of cross-examination. In rebuttal to Amiji's declaration, Trutek submits



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   herewith a declaration of its own expert, Edward A. Lemmo, Ph.D.

   ("Lemmo"). (Exhibit A). Dr. Lemmo has 46 years in the pharmaceutical

   industry in which he managed development of products similar to those

   disclosed in the '802 Patent.             In his declaration, Lemmo disagrees with

   positions taken by BlueWillow in its opening brief as well as opinions

   expressed by Amiji. His arguments will be addressed in this brief.



                                       II.     ARGUMENT

   A.      PERSON HAVING ORDINARY SKILL IN THE ART

           To determine the qualifications of a person having ordinary skill in the

   art ("person of ordinary skill" or "PHOSITA")1, one must first determine the

   level of ordinary skill.           This varies based on the purpose for such a

   determination. The person of ordinary skill appears in 35 U.S.C. §103.

           A patent for a claimed invention may not be obtained,
           notwithstanding that the claimed invention is not identically
           disclosed as set forth in section 102, if the differences between
           the claimed invention and the prior art are such that the claimed
           invention as a whole would have been obvious before
           the effective filing date of the claimed invention to a person
           having ordinary skill in the art to which the claimed
           invention pertains. Patentability shall not be negated by the
           manner in which the invention was made.2



   1
     A Person Having Ordinary Skill In The Art is often referred to a PHOSITA, i.e., the acronym formed
   from the first letter of each of the words. This is a common reference.
   2
     Emphasis added.


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             The person of ordinary skill in § 103 is utilized to determine whether a

   claimed invention is obvious over the prior art. However, this is not relevant

   to the task at hand. However, the Federal Circuit defined the characteristic

   properties of a person of ordinary skill.

        The person having ordinary skill in the art "is a hypothetical
        person who is presumed to be aware of all the pertinent prior
        art. The actual inventor's skill is not determinative. Factors
        that may be considered in determining level of skill include: type
        of problems encountered in art; prior art solutions to those
        problems; rapidity with which innovations are made;
        sophistication of the technology; and educational level of active
        workers in the field."
   Custom Accessories Inc. v. Jeffrey Allen Indus., 807 F.2d 955 (Fed. Cir. 1986).

             However, determination of whether the claims of the '802 Patent are

   obvious over the prior art is not at issue in claim construction. 35 U.S.C.

   §112(a) states:

             The specification shall contain a written description of the
             invention, and of the manner and process of making and using it,
             in such full, clear, concise, and exact terms as to enable any
             person skilled in the art to which it pertains, or with which it is
             most nearly connected, to make and use the same, and shall set
             forth the best mode contemplated by the inventor or joint
             inventor of carrying out the invention.3

             Here, § 112(a) is more in line with the purpose of determining the level

   of ordinary skill. A person of ordinary skill must have the ability to make and

   use the invention.       Finally, according to the Supreme Court holding in


   3
       Emphasis added.


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   Nautilus at 901, a patent claim is indefinite, if when "read in light of the

   specification delineating the patent, and the prosecution history, [the claim]

   fail[s] to inform with reasonable certainty, those skilled in the art about the

   scope of the invention." Thus, the person of ordinary skill is a hypothetical

   person, who is (1) active in the field, (2) familiar with all the pertinent prior

   art in the field, (3) has the skill to solve problems in the field, (4) is able to

   read a patent and understand it to be able to make and use the invention

   disclosed therein, and (5) is able to understand the scope of the invention as

   recited in the claims.

         However, in Schneider (Europe) AG v. SciMed Life Sys., Inc., 39 USPQ

   2d 1596, 1597 (quoting Standard Oil Co. v. American Cyanamid Co., 774

   F.2d 448, 454 (Fed. Cir. 1985)), the Court held:

         A person of ordinary skill in the art is also presumed to be one
         who thinks along the line of conventional wisdom in the art and
         is not one who undertakes to innovate, whether by patent, and
         often expensive systematic research or by extraordinary insights,
         it makes no difference which.

         Therefore, the person of ordinary skill does not have the skill of an

   inventor or innovator. He is merely a technician who has acquired his

   ordinary skill from education and experience.

         To ascertain the level of skill of the person of ordinary skill, one must

   first look to what kind of person normally works in the relevant field and



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   would normally read and understand a patent's language so as to be able to

   make and use the claimed invention. This person, by education or experience

   would be very familiar with the tools of his trade.

         Relevant to the claims of the '802 Patent, the person of ordinary skill

   must have the ability to create the formulations disclosed in the patent. Such

   a person is a pharmaceutical formulator. However, he or she is not a developer

   or an inventor. A developer or and inventor would be a person having

   extraordinary skill in the art.

         Here, extrinsic evidence becomes important because the person of

   ordinary skill is not described in either the patent itself or the prosecution

   history. We then should turn to the declarations of Lemmo and Amiji.

   Lemmo has worked in the field of new product development for 46 years.

   Throughout his career, he supervised formulators. According to Lemmo:

                The person of ordinary skill would not have read the '802
         Patent stand-alone. Based on his knowledge and experience, this
         person would be familiar with all the ingredients listed in the ten
         formulations shown in the '802 Patent. He would have the skill
         and experience to duplicate those formulations once having seen
         their list of ingredients. He must know enough chemistry and
         biology to be familiar with cationic agents and biocidic agents.
         He must have knowledge of the various airborne "harmful
         particles," such as bacteria, viruses, pollen, and other allergens.
         He must know enough undergraduate physics to understand
         electrostatic fields as well as the principles of electrostatic
         attraction and repulsion, adhesion, and cohesion. to that end, he
         needs familiarity with ingredients that are surfactants,
         thickeners, and binders.

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   Decl. Lemmo, ¶17.
                Based on my knowledge and experience, it is my opinion
         that this person of ordinary skill need not possess an advanced
         degree. Further, he does not even need to possess an
         undergraduate degree. He must be a technician with several
         years of experience as a formulator. The key requirement is his
         acquired experience necessary to create a wide variety of
         formulations from the class of ingredients disclosed in the '802
         Patent.
   Decl. Lemmo, ¶18.

             By contrast, Amiji states that his person of ordinary skill "would be

   someone who had at least an M.S. degree in chemical engineering,

   pharmaceutical sciences, or a related field (or the equivalent) with several

   years of experience with pharmaceutical formulation." 4 A person with an

   M.S. degree (or higher) in chemical engineering or pharmaceutical sciences,

   who is employed in the industry would be expected to innovate. He would be

   hired as a person having extraordinary skill. (Decl. Lemmo, ¶17.) He would

   be expected to have the skill set to be a developer.

             Amiji's allegations that his person of extraordinary skill would not

   understand the scope of the claims are confusing in light of Lemmo's

   assertions (based on his experience directing pharmaceutical formulators in

   product development) that a person of ordinary skill with fewer qualifications

   would comprehend the scope of the claimed invention.



   4
       Emphasis added.


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   B.        SPECIFICATION OF INGREDIENT COMPOSITION BY

   RANGES

             "Generally, the recitation of specific numerical ranges in a claim does

   not raise an issue of whether a claim is definite." MPEP § 2173.05(c).5

   Disclosure of an invention usually includes multiple embodiments of a

   claimed invention. This is the case in the '802 Patent. The specification

   discloses ten example formulations.                  However, some of the ingredient

   concentrations of these formulations are given as numerical ranges. Yet, as

   long as the ingredient concentrations are all held within the range limitations,

   the ten specific embodiments will function as described in the specification

   and in the claims. BlueWillow refers to the tables listing the ten embodiments

   as a "laundry list." However, this slur is an attempt to diminish the importance

   of disclosing the various embodiments of the invention. These are working

   formulations, albeit having been disclosed broadly.                      The names of all

   ingredients are disclosed. Depending upon the specific requirements of the

   efficacy of a particular use for the composition, an experienced

   pharmaceutical formulator would have the necessary skills to optimize the

   ingredient concentrations. The caveat is that the concentrations should not




   5
       The acronym MPEP means the USPTO Manual of Patent Examining Procedure.


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   fall outside the specified ranges. As Lemmo stated, "Formulators do this all

   the time. It is not 'rocket science.'" (Decl. Lemmo, ¶42.)

         In its opening claim construction brief on Page 8, BlueWillow's counsel

   stated, "there are no examples, data or test results demonstrating that any of

   the formulations “electrostatically attract” harmful particulate matter to the

   thin film, as opposed to other negatively charged particles that are not harmful

   (such as dust). Nor are there any examples, data or test results demonstrating

   that the claimed formulations “electrostatically inhibit” the harmful

   particulate matter from infecting an individual." However, a patent does not

   require disclosure of data or test results. Nor is a patent required to be a

   manufacturing specification. Given that most harmful particles have negative

   electrostatic charges and that the cationic agent in the '802 Patent formulations

   creates a positive electrostatic charge, basic physics dictates that the

   formulations electrostatically attract said harmful particles.

         BlueWillow continues, "the ’802 Patent is silent as to the specific

   charge density or other quantitative parameters needed to create the

   electrostatic field, what magnitude of electrostatic field is necessary to attract

   oppositely charged contaminants, how far the electrostatic field needs to be

   from the application surface, how much of the product must be applied to be

   effective, or how long the composition must stay on the skin to be effective."



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   This also is not a requirement to be imposed on the '802 Patent specification.

   "A patent specification is not intended nor required to be a production

   specification." Spectra-Physics, Inc. v. Coherent, Inc., 827 F.2d 1524, 1536

   (Fed. Cir. 1987).

         In Paragraph 44 of his declaration, Lemmo stated, "[b]ased on my

   experience in the pharmaceutical industry, it is my opinion that a formulator

   having ordinary skill would be able to duplicate the claimed embodiments

   with nothing more than the '802 Patent to guide them. Further, I do not find

   Amiji's assertion credible that his person having extraordinary skill would be

   unable to do what I found that a person of ordinary skill could accomplish."



   C.    THE DISPUTED CLAIM TERMS

         1.     Electrostatically Attracting

         The word, "electrostatically," refers to "static electricity" and utilizing

   electrically charged particles. Merriam-Webster Dictionary. The Summary

   of the Invention Section of the '802 Patent Specification (at 3:32-3:40) refers

   to "an electrostatically charged composition ... when applied to a surface,

   creates an electrostatic field." It is well known that in an electrostatic field,

   oppositely charged particles attract each other, and similarly charged particles

   repel each other.



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          In claim 1, the term used is "electrostatically attracting," while in claim

   2, the term used is, "electrostatically attracts." As discussed supra, opposite

   statically charged particles attract each other.       Here, once applied, the

   formulation exhibits a static charge, while the "harmful particles" exhibit an

   opposite charge. Thus, the applied formulation attracts the harmful particles.

   The Summary of the Invention section of the Specification discloses (at 3:35-

   3:38) that the "formulation, which when applied to a surface, creates an

   electrostatic field such that oppositely charged airborne particulates

   (including microorganisms) in the vicinity of the surface are electrostatically

   trapped ..."

          The term "electrostatically attracting" refers to that well-known

   scientific principle. The specification describes a "formulation, which when

   applied to a surface, creates an electrostatic field such that oppositely charged

   airborne particulates (including microorganisms) in the vicinity of the surface

   are electrostatically trapped."

          BlueWillow argues that while the '802 Patent specification lists

   "ingredients and formulations form making 'electrostatically charged' nasal

   products, there are no examples, data or test results demonstrating that any of

   the formulations 'electrostatically attract' harmful particulate matter to the thin

   film as opposed to other negatively charged particles that are not harmful



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   (such as dust)." As discussed supra, this is not a requirement for a patent

   specification, and it is irrelevant to construction of the term, "electrostatically

   attracting." Electrostatic attraction is a basic principle of physics known even

   by high school students. If harmful particles are negatively charged and the

   formulation's thin film is positively charged, one does not need test data to

   prove that the harmful particles will be attracted to the thin film. And, what

   is the relevance of whether the thin film also attracts dust particles? The lack

   of test data is not relevant to the meaning of the term. What is relevant is

   whether a person of ordinary skill would be able to discern the scope of the

   claimed invention in light of the specification and prosecution history. If he

   can do so, then the claim is not indefinite by use of that term. According to

   Lemmo, a person of ordinary skill would be able to do this. (Decl. Lemmo,

   ¶50).

           2.    Electrostatically Inhibiting

           The word, "inhibiting," means (1) to prohibit from doing something or

   (2) to hold in check. Merriam-Webster Dictionary. The preambles of claims

   1 and 2 refer to "electrostatically inhibiting harmful particulate matter from

   infecting an individual..." The meaning of this expression in the claims is

   using an electrostatic field to attract or repel harmful particles. The recited

   formulation then prohibits the harmful particles from infecting the individual



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   through inhalation.      The Abstract of the Specification states that

   microorganisms coming in contact with the substrate or skin are rendered less

   harmful. The Summary of the Invention section discloses (at 3:35-3:40) that

   the "formulation, which when applied to a surface, creates an electrostatic

   field such that oppositely charged airborne particulates (including

   microorganisms) in the vicinity of the surface are electrostatically trapped,

   held thereto and one or more of the microorganisms so captured is neutralized,

   killed, inactivated, and rendered harmless."

         The term "electrostatically inhibiting" is taken from the specification to

   mean that, "the formulation, which when applied to a surface, creates an

   electrostatic field such that oppositely charged particulates (including

   microorganisms) in the vicinity of the surface are electrostatically trapped,

   held thereto, and one or more of the microorganisms so captured is

   neutralized, killed, inactivated, and rendered harmless." ('802 Patent at 3:35.)

         Originally submitted independent claims 1, 2, and 8 of the subject

   patent application used the term "electrostatically preventing." In a USPTO

   office action dated August 25, 2011, the Examiner rejected these claims under

   35 U.S.C. §112, First Paragraph. The Examiner stated:

         Claims 1-23 are rejected under 35 U.S.C. 112, first paragraph,
         because the specification, while being enabling for, at the most,
         inhibition of infections, does not reasonably provide enablement
         for the prevention of the same, (see claims 1, 2 and 8; and thus

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         the claims dependent therefrom). The specification does not
         enable any person skilled in the art to which it pertains, or with
         which it is most nearly connected, to make and use the invention
         commensurate in scope with these claims.

         In order to overcome the rejection set forth infra, it is suggested
         that Applicant consider amending claims 1, 2 and 8 so as to
         delete the term "preventing" and replacing it with the term
         "inhibiting". While the latter is not specifically set forth in the
         present specification, it is nevertheless deemed that the concept
         thereof clearly finds support therein when the specification's
         teachings are taken as a whole, i.e., no new matter would be
         introduced by the introduction of the term "inhibition" in the
         claims.

         A copy of the USPTO Office Action of August 25, 2011 is attached to

   Trutek's Opening Claim Construction Brief as Exhibit C (ECF No. 37). There

   is no question that the USPTO patent examiner understood the term when he

   stated that, "the concept thereof clearly finds support therein when the

   specification's teachings are taken as a whole."

         3.     Adequate Impermeability

         The dictionary definition of impermeability is "not permitting passage

   (as of a fluid) through its substance." (Merriam-Webster Dictionary.). The

   dictionary definition of adequate is "sufficient for a specific need or

   requirement." (Id.) Claims 1 and 2 state specific "needs and requirements."

         The term adequate impermeability must not be read out-of-context.

   The term appears in Element (b) of claims 1 and 2. The preamble of method

   claim 1 states in part, "... inhibiting harmful particulate matter from infecting

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   an individual through nasal inhalation wherein a formulation is applied to the

   nasal passages of the individual in a thin film ..." Element (b) of claim 1 states

   in part, "... holding the particulate matter in place ... by adjusting the cohesion

   of the formulation to provide adequate permeability to the thin film ..."

   Finally, Element (c) states the purpose of the claim as, "... render said

   particulate matter harmless."

         The preamble of formulation claim 2 and claim Elements (b) and (c)

   state similar needs and requirements as claim 1, above.

         Thus, impermeability, as used in the claims, refers to the thin film

   inhibiting harmful particles from penetrating the thin film and contacting the

   skin or tissue of an individual's nasal passages. Further, impermeability refers

   to the ability of the thin film to hold captured harmful particles in place by

   adjusting the adhesion and cohesion of the formulation's thin film. This

   holding function is critical to the invention, and "impermeability" is a part of

   this function. The thin film is rendered tacky or sticky so that harmful

   particles adhere to it and do not dislodge into the air stream to be inhaled by

   the individual. ('802 Patent at 3:2.) The adhesion and cohesion is adjusted by

   varying the concentrations of ingredients (such as a surfactant, a thickener,

   and a binder (Id. at 5:9-13)). Thus, by adjusting the adhesion and cohesion of

   the thin film, the formulation becomes impermeable, allows the harmful



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   particles to adhere to the thin film, thereby preventing inhalation of harmful

   particles. Here, the term "impermeable" takes on its plain and ordinary

   meaning. This would be understood by a person of ordinary skill. (See Decl.

   Lemmo, ¶52)

         The term "adequate impermeability" uses a term of degree (i.e.,

   adequate). "Claim language employing terms of degree has long been found

   definite where it provided enough certainty to one of skill in the art when read

   in the context of the invention." Interval Licensing LLC v. AOL, Inc., 766

   F.3d 1364, 1370 (Fed. Cir. 2014) (citing Eibel Process Co. v. Minnesota &

   Ontario Paper Co., 261 U.S. 45, 65-66 (1923) (finding "substantial pitch"

   sufficiently definite because one skilled in the art 'had no difficulty ... in

   determining wheat was the substantial pitch needed' to practice the

   invention.)). The phrase “an effective amount . . .for growth stimulation” was

   held to be definite where the amount was not critical and those skilled in the

   art would be able to determine from the written disclosure, including the

   examples, what an effective amount is. In re Halleck, 422 F.2d 911 (C.C.P.A.

   1970). Thus, when a term of degree is used in the claim, the examiner should

   determine whether the specification provides some standard for measuring

   that degree. Hearing Components, Inc. v. Sure Inc., 600 F.3d 1357, 1367

   (Fed. Cir. 2010); Enzo Biochem, Inc. v. Appelera Corp., 399 F.3d 1325, 1332



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   (Fed. Cir. 2010); Seattle box Co., Inc. v. Crating & Packaging, Inc., 731 F.2d

   818, 826 (Fed. Cir. 1984). Here, the specification of the '802 Patent provides

   ten examples (Tables 1 - 10) of formulations that all function as in the claims.

   The formulations each contain ingredient compositions, the concentrations of

   which are given in ranges. The actual ingredient concentrations need to be

   adjusted by a person of ordinary skill (i.e., a formulator) to have the desired

   characteristics of adhesion of the thin film along with its tackiness to capture

   and hold the harmful particles, thus providing adequate impermeability.

   While this would require some experimentation, for a person of ordinary skill,

   that experimentation would not be undue. Further, as indicated in the USPTO

   office action of August 25, 2011, the examiner considered whether, and in

   allowing the application, determined that the claims, as a whole, would enable

   a person of ordinary skill "to make and use the invention as commensurate in

   scope with these claims."

         4.     Render[s] Said Particulate Matter Harmless

         The "Objects Of The Invention" Section of the specification of the '802

   Patent informs the reader of several requirements of the disclosed invention:

         It is therefore an object of the invention to provide a composition
         that can be readily applied to the exterior region around the
         nostril and/or slightly inside the edge of the nostril or near the
         vicinity of the source of release with method and compositions
         capable of capturing particulates and microorganisms. ('802
         Patent at 2:62.)

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         It is another object of the invention to have the capability to hold
         it for a duration from being dislodged in to the air stream again.
         (Id. at 3:1.)

         It is a further object of the invention to provide a composition
         that can be applied near the vicinity of the source of release or
         to the area around the exterior of and/or slightly inside the edge
         of the nostril that will inactivate, kill, or render harmless a
         microorganism, which has been captured and held by the
         composition. (Id. at 3:4.)

         It is still another object of the invention to provide a method of
         prophylactically preventing or of substantially reducing the risk
         of infection by an infectious agent without the utilization of
         ingested antiviral and/or antibacterial agents. (Id. at 3:19.)

         And the Abstract of the '802 Patent states:

         The electrostatic field attracts airborne particulates of opposite
         charge to the substrate that are in close proximity to the
         substrate close to the skin and a biocidic agent renders
         microorganisms coming in contact the substrate or skin less
         harmful.

         The examiner in USPTO Office Action of August 25, 2011 stated:

                Here, the objective truth of the statement that an infection,
         which is taken to mean the introduction of an infectious element
         through the outside of a given host and into the system of such
         host (see MPEP §2113; terms given their broadest reasonable
         interpretation), may be prevented, (which again, given its
         broadest, reasonable interpretation), i.e., a material is ever kept
         from introduction into the system of a host, is doubted because
         the present claims merely recite a pharmacological composition
         while an effective prevention against the introduction of an
         infectious material into a host, especially where such material
         does not cause any pathology, would require that the exterior
         system of the host be completely blocked so as to preclude any
         infectious material passing though such system of the host.



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                In reading the present specification as a whole, it appears
         the tenor thereof is that infections, whether they cause a
         pathology or not, may be inhibited rather than be prevented. The
         former allowing at least one infectious material to pass into the
         system of the host rather than the latter which indicates that not
         even one of the infectious material is allowed to infect, i.e., pass
         into the system of the host.

         Here, from the specification and the prosecution history, it is apparent

   what is meant by "render[s] said particulate matter harmless." The claimed

   formulation (1) forms an impermeable thin film that adheres to the skin or

   tissue of the nasal passages; (2) contains a cationic agent that attracts harmful

   particles; (3) holds those harmful particles in place because they adhere to the

   thin film; and (4) contains a biocide, which "neutralizes, inactivates, kills, or

   renders harmless a microorganism, which has been captured and held by the

   composition." Rendering a microorganism harmless equates to it being

   neutralized, inactivated, or killed. However, based on the prosecution history

   (amending the term "preventing" to "inhibiting"), rendering said particulate

   matter harmless does not require all harmful particulate matter to be

   neutralized, inactivated, or killed.



   D.    INDEFINITENESS AND INVALIDITY

         BlueWillow cited Nautilus, 572 U.S. at 901, stating that, a "patent is

   invalid for indefiniteness if its claims, read in light of the specification



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   delineating the patent, and the prosecution history, fail to inform with

   reasonable certainty, those skilled in the art about the scope of the invention."

   BlueWillow further stated that, "[t]he burden of establishing invalidity based

   on indefiniteness rests on the party asserting invalidity and must be proven by

   clear and convincing evidence." Citing Takeda Pharm. Co. v. Zydus Pharms,

   USA, Inc., 743 F.3d 1359, 1366 (Fed. Cir. 2014). Then, BlueWillow cited

   Nautilus once again stating that indefiniteness is measured from the

   perspective of a person of ordinary skill at the time the patent was filed. On

   Page 8 of its Opening Brief, BlueWillow criticized the '802 Patent for not

   providing any information concerning the "objective parameters" a person of

   ordinary skill would need to have. It is extremely rare that any patent would

   do this.

            Because the qualifications of a person of ordinary skill is not discussed

   either in the specification or the prosecution history of the '802 Patent, it is

   necessary to turn to the extrinsic evidence to determine that person's

   qualifications and whether that person has been informed with reasonable

   certainty "about the scope of the invention." Here, the experts disagree about

   the qualifications of a person of ordinary skill. Amiji's person of ordinary

   skill requires more education and experience than Lemmo's person of ordinary

   skill.     However, Lemmo himself has 46 years experience directing the



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   operations of pharmaceutical and nutritional corporations in new product

   development. Lemmo labeled Amiji's person as having extraordinary skill in

   the art, being more qualified as a developer. According to Lemmo, the person

   having ordinary skill in the art, as defined by him (i.e., a formulator), would

   be able to comprehend the scope of the claimed invention at the time the patent

   was filed, and would be able to make and use the claimed formulations with

   only the '802 Patent as a road map. Lemmo found it incredible that Amiji's

   person of extraordinary skill could not do what a formulator normally does.

   As Lemmo stated, "[h]e or she would need to do some experimentation that

   would optimize the combination of ingredients. Formulators do this all the

   time. It is not 'rocket science.'" (Decl. Lemmo, ¶42.)

         Lemmo went on to opine on the disputed claim terms. He did not find

   them indefinite or ambiguous. Apparently, the patent examiner was of the

   same opinion when he said, "it is nevertheless deemed that the concept thereof

   clearly finds support therein when the specification's teachings are taken as a

   whole." BlueWillow criticizes the '802 Patent for not providing test data and

   guidance how to prepare the formulations included in the specification as

   embodiments of the invention.         BlueWillow expected a step-by-step

   instruction sheet for making the example formulations. BlueWillow appears

   to require a detailed production specification. However, this is not required



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   provided that a person of ordinary skill can make or use the claimed invention

   without undue experimentation.         Some experimentation needs to be

   performed to optimize the example formulations. According to Lemmo, this

   task is regularly performed by pharmaceutical formulators.

    BlueWillow appears to have understood the scope of the claims as a whole

      when it said, for each clause in the claims of the '802 Patent, "plain and

    ordinary meaning, no construction necessary." The words in the claims all

      take on their plain and ordinary meaning, and the claims as a whole are

    understandable. As BlueWillow stated supra, "[t]he burden of establishing

    invalidity based on indefiniteness rests on the party asserting invalidity and

     must be proven by clear and convincing evidence." BlueWillow failed to

    meet its burden. The '802 Patent is presumed valid by law as are its claims.

    BlueWillow failed to present clear and convincing evidence to the contrary.



                               III. CONCLUSION

         As argued supra, BlueWillow failed to show patent invalidity based on

   indefiniteness of claims 1, 2, 6, or 7 by clear and convincing evidence. In the

   conclusion of its Opening Claim Construction Brief, BlueWillow proposes an

   alternative for the Court in constructing the terms of the claims. BlueWillow

   suggests that the Court should hold the preambles to be limiting. Trutek



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   concedes that the preambles limit the scope of the claims to the extent that

   they breathe life into their claims, which is often not the case. The preambles

   are the first instances where some elements and terms later used in their claims

   are defined. The claims themselves would be indefinite under 35 U.S.C.

   §112(b) if their preambles were not deemed significant. Further, BlueWillow

   suggests that all the words of the claim terms be given their plain and ordinary

   meaning. This is contrary to the patent construction process, because claim

   terms are to be construed based on their use in the specification and

   prosecution history. Words should be given their plain and ordinary meanings

   from dictionaries only in the absence of contrary guidance from the

   specification or prosecution history. However, it should be recognized that

   their usage in the specification and prosecution history of the '802 Patent is

   not repugnant to their plain and ordinary meanings. BlueWillow's allegations

   of indefiniteness should be denied.



   Dated: September 27, 2022               Respectfully submitted,

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                Exhibit A
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                  IN THE UNITED STATES DISTRICT COURT

                      EASTERN DISTRICT OF MICHIGAN

                             SOUTHERN DIVISION




              TRUTEK CORP.,
                 Plaintiff,
                                          CIVIL ACTION No. 2:21-cv-10312€JM-RSW
                        V.

          BlueWillow Biologics, lnc.
         ROBIN ROE 1 through 10,
       gender neutral fictitious names,
        and ABC CORPORATION 1
        through 10 (fictitious names).
                 Defendants.




      DECLARATpN OF EpWARp A. |-EMM9. Ph.D. lN SUPPORT OF
           TRUTEK CORP.'S Cl-AlM CONSTRUCTION BRIEF
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      l, Dr. Edward A. Lemmo, declare as follows:

      1.    My name is Edward A. Lemmo. I have been retained as an expert witness

            by Plaintiff, Trutek Corp. ("Trutek"), in the above captioned matter. I am

            being compensated for my time spent with regard to this litigation at the

            rate of $250 per hour. My compensation is not affected by the outcome of

            this lawsuit.

      2.    I understand that this legal matter concerns allegations by Trutek that
            Defendant BlueWillow Biologics, lnc. ("BlueWillow") infringed claims 1, 2,

            6, and 7 of U.S. Patent No. 8,163,802 ("the '802 Patent") by making and

            selling a product called NanoBio Protect.

      3.    This declaration relates to the issue of claim construction the '802 Patent.

            I am familiar with the '802 Patent, and I understand the teachings of its
            patent specification and its claims.

      4.    For purposes of this declaration, I read and understood:

            a. "Plaintiffs lnitial Brief On Claim Construction Issues For Markman
                Hearing," filed with the Court as ECF No. 37 on September 8, 2022. I

               also read and understood the exhibits attached to this brief.

            b. "Defendant BlueWillow Biologics, lnc.'s Opening Claim Construction
               Brief," filed with the Court as ECF No. 38 on September 8, 2422. I also

               read and understood the exhibits file by BlueWillow along with their

               brief, namely ECF Nos. 38-2, 38-3, and 384.

      5.    I disagree with the opinions expressed by Dr. Mansoor M. Amiji ("Amiji") in

            his declaration (filed as ECF No. 38-3). ln particular, it is my opinion that:
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                the qualifications stated by Amijifor a person having ordinary skill in

                the art (a "person of ordinary skill") belong the a person having

                extraordinary skill in the art (a "person of extraordinary skill").

           b.   The disclosures of the specification and claims of the '802 Patent

                enable a person of ordinary skill to understand the claims and to

                make and use the inventions of claims 1, 2,6, and 7.

                Based on the disclosures of the specification and the claims, it is

                my opinion that the claim terms, 'electrostatically inhibiting,"
                "electrostatically attracting," "adequate impermeability," and

                "render[s] said partieulate matter harmless," are sufficiently clear

                and unambiguous so as to infonn a person of ordinary skill "as to

                the scope of the claimed invention of asserted claims 1, 2, 6, and 7

                of the '802 Patent."

           d.   This declaration presents my opinions, findings and conelusions

                regarding the disputed terms in the following paragraphs:

                  . Person Havinq Ordin?rv Skill in the Art - Paragraphs 13-18;
                  . Electrostatically lnhibilinq - Paragraphs 2$31 and 4849;
                  . Electrostatically Attracting - Paragraphs 34 and 50;
                  , Adequate lmpermeabilitv - Paragraphs 33-35, 37, and 51-54;
                  . Reqderlsl Said Particulate Matter Harmless - Paragraphs 30
                     and 54-55; and

                  . Claims 1. 2. 6. and 7 (considered as a whole) - Paragraph 56.
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                          QUALIFICATIONS AND EXPERIENCE

     6.     My curiculum vitae is attached hereto as Exhibit A. What follows are

            highlights of my qualifications to serve as an expert witness in this matter.

      7.    I have a B.S. in chemistry, an M.S. in Nutrition Science, and a Ph.D. in

            nutrition science. lwas awarded my Ph.D. in 1979.

      8.    For a long time, I have offered my services as a consumer healthcare

            corporate consultant. ln this capacity I consulted for Nutramerica,

            Nutrition 21,lVC lndustries, Church & Dwight, and Matrixx lnitiatives, lnc.

      9.    I served as Vice President of Product Development for BioBalance
            Corporation and for Wyeth Consumer Healthcare. I was the Director of

            Nutritional Sciences for General Nutrition Centers, lnc. I was the Director

            of Nutritional Technology for ICN Pharmaceuticals, Faraday Laboratories

            Division. I was Marketing Manager for Pall Biomedical Products, and was

            Clinical Trials Coordinator for Pharmacia Laboratories.

      10.   ln my experience, I have overseen the development and formulation of

            pharmaceutical and nutritional products that were sold over-the-counter. I

            understand the steps of product development, formulation, scaling-up, and

            manufacturing for pharmaceutical products.

      11.   I am not an attorney, nor have I had legal training. I understand that the

            construction of claim terms is a legal matter. I am not qualified to opine on

            the legal significance of any claim. However, I am familiar with patents,

            and I have read many of them. I have assisted others in preparing patent

            applications and I have performed due diligence with respect to



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            investrnents in patents. As a scientist, I seek to understand the

            technology and the plain and ordinary meaning of words contained in the

            specification (the invention disclosure) and the claims.

      12.   Based on my education and experience in pharmaceutical product

            development, I understand the technology disclosed in the '802 Patent,

            and I am able to opine that the specification and claims of the '802 Patent

            provide a sufftcient roadmap to enable a person of ordinary skill to employ

            the method in claim 1 and to make the formulation of claim 2. Claims 6

            and 7 further speciff a particular ingredient to be used in the formulation of

            claim 2, and its use in that formulation is apparent.

                           THE PERSON OF ORDINARY $KILL

      13.   A person having ordinary skill in the art is essentially a fictitious individual

            considered to have a general or working knowledge of the subject matter

            in question. The operative word in this context is "ordinary." This is a
            person who posse$ses special or distinctive knowledge or capability in a

            discipline. This person would have a basic skill set or talent related to the

            technology related to the art. ln addition, a person of ordinary skill knows

            of and understands all the prior art in his field of endeavor prior to the time

            that he is asked to evaluate the teachings of a patent. He must have

            sufficient experience in his art so as to be competent to understand and

            interpret the prior art related to a patent so that he can make and use the

            invention described and claimed in the patent. A oerson of ordinary skill is

            primarifv a technician in his chosen field. and his skills are those ordinarilv
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            associated with such a technician. He is not an inventor. However, he is

            not a robot either. He must be able to understand and interpret the

            teachings associated with the type of structures and chemical

            compositions described in a document such as a patent. That document

            may possess directives for creating a product including the step by step

            protocol for making or assembling the product. ln some instances, a

            person of ordinary skill may apply his fundamental skills in a procedure to

            follow instructions provided by a person possessing extraordinary skill.

            That extraordinarily skilled person may be a person having an advanced

            degree in a specific discipline who can educate others in that specific skill.

      14.   Having been a college professor for more than 30 years, I have taught

            numerous students on basic scientific concepts who were either majors in

            the discipline or students who were non-majors who wanted to gain a

            working general knowledge or skill. The students who majored in the

            discipline would be expected to reach a level of extraordinary skill. Those

            who were non-majors were not expected to develop extraordinary skill but

            were expected to have a working knowledge of the subject matter.

            Hopefully, the example provided takes the imaginary or fictitious person to

            a real life individual who has a working knowledge of a subject matter and

            can understand and interpret the subject matter.

      15.   It is important to determine the level of skill of a person who would be

            considered a person of ordinary skill with regard to the '802 Patent. lt is

            essential that this person cannot be a person of extraordinary skill. A



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            person of ordinary skill would not have the same knowledge or motivation

            to invent as a person having extraordinary skill.

      16.   ln his declaration (ECF No. 38-3) in Paragraph 26 on Page 9, Amijiopined

            on the level of skill, experience, and education of a person of ordinary skill.

            He stated that such an individual should have "at least an M.S. degree in

            chemical engineering, pharmaceutical sciences, or a related field (or the

            equivalent) with several years of experience with pharmaceutical

            formulation. Also, a person of ordinary skill in the art may have worked as

            part of a multidisciplinary team           including a chemical engineer,

            microbiologist, or polymer chemist
                                                 - and drawn upon not only his or her
            own skills, but also taken advantage of certain specialized skills of others

            on the team, e.9., to solve a given problem."

      17.   Having read and understood the teachings of the '802 Patent, I concluded

            that Dr. Amiji described a person of extraordinary skill in the art and

            technology of that patent. Instead, the level of skill possessed by a person

            of ordinary skill is that of a chemical or pharmaceutical formulator. This

            person would have two related but separate qualifications. First, after

            reading the '802 Patent, he should be able to create the formulations

            described in the patent, and then be able to use the formulations as

            prescribed. Second, the person of ordinary skill must be positioned in

            time just prior to effective filing date of the '802 Patent. Based on this

            second requirement, the person of ordinary skill would not have read the

            '802 Patent stand-alone. Based on his knowledge and experience, this
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            person would be familiar with all the ingredients listed in the ten

            formulations shown in the '802 Patent. He would have the skill and

            experience to duplicate those formulations once having seen their list of

            ingredients. He must know enough chemistry and biology to be familiar

            with cationic agents and biocidic agents. He must have knowledge of the

            various airborne "harmful particles," such as bacteria, viruses, pollen, and

            other allergens. He must know enough undergraduate physics to

            understand electrostatic fields as well as the principles of electrostatic

            attraction and repulsion, adhesion, and cohesion. To that end, he needs

            familiarity with ingredients that are surfactants, thickeners, and binders.

      18.   Based on my knowledge and experience, it is my opinion that this person

            of ordinary skill need not possess an advanced degree. Further, he does

            not even need to possess an undergraduate degree. He must be a

            technician with several years of experience as a formulator. The key

            requirement is his acquired experience necessary to create a wide variety

            of formulations from the class of ingredients disclosed in the'802 Patent.

                       THE PRODUCT DEVELOPMENT PROCESS

      19.   ln my experience with product development, the inventor of a new product

            has an idea based on an observation or on reading literature related to the

            topic. A product developer may either be the inventor or one who is
            assigned the task of developing a newly invented product. This person

            composes ideas and concepts either individually or with a team to

            construct the framework of the new product. At this stage, the



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            development process is very generic. Categories of product components

            are considered rather than exact amounts. The developer is anyone who

            has the ability or vision to create a new item or improvement of an existing

            product for the betterment of the user. Basically, this person gets an idea

            and brings it forward for consideration. The product does not need to be

            in a final form. This developer is a person of extraordinary skill.

      20.   From the area of product development, the concept is brought to the

            second stage of the process. The developer works together with a

            formulator, who is a person of ordinary skill. He or she takes the idea

            originally penned by the inventor or developer (either in a task document,

            a patent application, or an issued patent) and compiles various component

            ingredients that would meet the needs of the original design and provide

            options for the finished product. The formulator is usually a person

            employed in the manufacturing sector or the operations division of a

            corporation. Many of these formulators have basic working skills
            developed in the manufacturing facility. As a result of previous

            experiences, this person can take the concept presented by the inventor

            or developer, who may be a scientist, and make the product prototypes.

            The core elements of the product are specified by the inventor or
            developer to meet the expectations or objectives when using the product.

      21.   Essentially, the components of the patent may include the skeletal

            structure or frarnework of the new product as originally designed by the

            inventor. lf the product requires a binding agent, emulsifier, or any


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            compositional agent, these would be included in the patent. A person of

            ordinary skill should be able to read the patent and understand that there

            are some fundamental components of the patented design and options of

            these components to create prototypes based on this information. A

            patent is not a manufacturing specification. lt does not need to be written

            in exact measures for a person of ordinary skill to take the written
            invention, originally crafted from the inventor's idea, and embellished by

            the formulator to go fon*ard and develop a product based on this
            information.

      22.   ln the third stage of the process, the product, while in the prototype phase

            of development, is now reshaped or focused considering the efficacy of

            the product. lngredients may be substituted. Generic ingredients may be

            utilized. Consideration of ingredient interaction is evaluated.
            Considerations of product stability is considered for shelf-life and

            reproducibility. Once again, these actions are preformed by formulators,

            who are persons of ordinary skill.

      23.   ln the fourth stage, consideration of scaling-up the product in a
            manufacturing facility is made so that the idea found in the patent with the

            optional components of each category (e.9., active components,
            surfactants, thickening agents, flow agents, binders, fillers, excipients,

            efc.) become a finished product that meets the goals of the product's use.

            Considerations regarding manufacturing are normally handled by
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            engineers, who may be persons either of ordinary skill or extraordinary

            skill.

      24.   The final stage of the process involves bringing the product to market. A

            pharmaceutical product needs to go through extensive testing ultimately

            proving that the product is safe and effective for use by humans. Approval

            by govemment regulatory agencies is usually required. The product
            concept originated by the inventor is put to the test to see if the idea can

            become a reality in the development of the new product. Sales and

            marketing people put their final touches on the product so that the

            consumer connects with the inventor's idea on how the new product is of

            benefit to them.

                           ENABLEMFNT OF THE '802 PATENT

      25.   The '802 Patent discloses and claims a method for inhibiting harmful
            particles frorn infecting an individual through nasal inhalation using an

            electrostatically charged formulation that attracts those particles, holds

            them and renders them harmless. lt also discloses and claims the

            formulations and details of example ingredients of such electrostatically

            charged formulations. Thus, the term, eleclrostaticallv inhibitins is

            clearly taken to mean inhibiting harmful particles from infecting an

            individual using an electrostatically charged formulation.

      26.   It is well known that electrostatically charged particfes attract oppositely

            charged particles and repel similarly charged particles. These are the

            well-known phenomena of elgctostatic atlrlaction and electrostatic



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            repulsion, respectively. When apptied to any surface, an electrostatically

            charged formulation $pically leaves charged particles on that surface.

            Thus, such a formulation will attract oppositely charged particles to the

            surface and will repel similarly charged particles from the surface.

      27.   For example, most harmful particles (such as microorganisms) are
            negatively charged. Application of a positively charged formulation to the

            skin or tissue would cause the harmful particles to be attracted to the

            formulation (i.e., via electroshtic attractio n).
                                                                        .that can be readily
            The formulation disclosed in the '802 Patent is one

            applied to the exterior region around the nostril and/or slightly inside the

            edge of the nostrit or near the vicinity of the source of release ... capable

            of capturing particulates and microorganisms." (802 Patent at 2:62.) I

            call this, "Cateh" function.

      29. Once applied, the formulation "has the capability to hold it li.e., the
            particulates and micrcorganrsmsl for a duration from being dislodged in

            the air stream again." (ld. at 3:1.) I call this the "Hold' function.

      30.   Further, the formulation, having held the particulates, is able to "to

            simultaneously inactivate, kill, or render harmless the microorganisms so

            trapped." (/d. at 3:13.) I call this the "Kill" function.

      31.   Thus, the method of claim 1 for inhibiting harmful particles from infecting

            an individual through nasal inhalation using an electrostatically charged

            formulation is accomplished using the functions of "catch," 'hold," and

            "kill."




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            The'802 Patent expresses the term "hold" in the claim statements related

            to the multi-action mechanism of the invention. While the product attracts

            particulate matter from the airflow before entering the nasal passageway

            utilizing electrostatic forces, this alone is insufficient to protect the

            individual from harmful particulate matter entering the body's respiratory

            system. Holding is a protective concept based on adhesive and cohesive

            properties.

            Adhesion of the formulation can be viewed in two ways: (1) adhesion to

            the skin of the individual applying the formulation in and around the nasal

            passageway; and (2) adhesion of the particles in the airflow to the

            formulation itself. Cohesion provides a tackiness that incorporates the

            concept of adhesion. Adhesion concerns the forces bondino dissimilar

            molecules toqether. Cohesion concems the forces bonding similar

            molecules toqether. Adhesion considers particles of opposite charge,

            while cohesion goes beyond this concept to include particles of like

            charge. This sets up a barrie{ of impgr{neabilitv trapping a significant

            number of these particles outside the nasal passageway.

      34.   lf the formulation is applied to the skin or tissue inside a person's nostrils,

            the holding function prevents these particles from either being inhaled into

            the respiratory system or from contacting the skin or tissue directly.
            Therefore, holding is a critical aspect of the patent claims since the power

            of the electrostatic forces to attract airbome particles must be enhanced

            using the principles of adhesion and cohesion. This interaction of the



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            formulation with foreign particles found in the air, by eleetrostatically

            attracting and capturing them and then holding them in place, sets up the

            opportunity for the formulation's ingredients to inactivate them prior to

            entry into the respiratory system. The formulation contains a cationic

            agent to attract bioactive particles such as bacteria, viruses and other

            biologically harmful particulates found in the air. lt also contains a biocidic

            agent that acts to destroy or neutralize the captured bioactive particles.

      35.   Essentially, the mechanism of the formulation to carry out the protection it

            claims to afford the user would be incomplete if the formulation did not

            have the adhesive and cohesive properties required to hold the particles in

            place. Attraction by electrostatic forces is enhanced by the holding
            properties of adhesion and cohesion, and the holding properties set up the

            formulation's biocidic ingredients to inactivate and kill bioactive particles

            that are held in place by the formulation.

      36.   Most harmful airborne particles have a negative electrostatic charge. The

            formulation is applied to the skin or tissue of the nasal cavities as a thin

            film. The presence of a cationic agent in the formulation produces a
            positive electrostatic eharge, which attracts and captures the negatively

            charged particles. A biocide in the formulation would ordinarily be

            expected to inactivate and kill the captured bioactive particles. But, to be

            effective, biocidic action requires contact with bioactive particles for a

            certain time period. lf the captured particles happen to dislodge from the

            formulation's thin film, they would remain active and be inhaled. Even if



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            they were in contact with the biocide for a sufficient time to be inactivated,

            the dislodged inactivated particles would still be able to be inhaled. Thus

            the "hold" function is critical to usefulness of the invention.

      37.   Thus, adqquate impermeabilitv is a properV of the applied formulation

            that allows the harmful particles to be held in place for a sufficient time to

            be inactivated.

      38.   The specification of the '802 Patent explains the methodology of the

            invention in the Summary of the lnvention section (ld. at 3:30) and in the

            Detailed Description of the lnvention section (ld beginning at 3:42).

      39.   The specification proposes the formulation's generic ingredients:

            . water,
            . at least one quatemary thickener,
            . a preseryative,
            . a conditioner,
            . an emulsifier,
            . a biocidic agent,
            . a neutralizing agent added to adjust and achieve a pH in the range of
              5.0 to 6.8.
            . a surfactant,
            . a thickener,
            r an emollient,
            . a humectant, and
            . a binder
      44.   Next, the specification provides specific examples of the ingredients listed

            in the previous paragraph.

      41.   Then, the specification provides ten example formulations. According to

            the specification, all of these example formulations function as recited in

            claims 1, 2, 6, and 7. Defendants have called these ten examples a

            "laundry !ist." This characterization diminishes the importance of providing



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            these examples to a person of ordinary skill. Each example is an

            embodiment of the claimed invention. ln these examples, the ingredient

            quantities are not provided exacfly. The quantities are provided in ranges.

            As long as the composition of ingredients remains within the specified

            ranges, the example formulations should function as disclosed. Although

            some experimentation needs to be performed by the formulator to

            optimize the fomrulation to meet the specific requirements of efficacy and

            stability with regard to its application to the various diseases and

            conditions enumerated by the tables in Column 4 of the '802 Patent, such

            experimentation would not be undue.

      42.   ln my experience in product development and having supervised
            pharmaceutical formulatorc, who are persons of ordinary skill, virtually any

            experienced formulator would be able to experimentally optimize a

            composition of ingredients using the road map set forth by the ten

            examples. An experienced formulator would be able to create a
            formulation that performs as in the claims with only the '802 Patent as a

            road map, and with nothing more. He or she would need to do some

            experimentation that would optimize the combination of ingredients.

            Formulators do this allthe time. lt is not "rocket science.n

      43.   ln his expert report (ECF No. 38-3), Amiji defined a person of ordinary skill

            as having "at least an M.S. degree in chemical engineering,
            pharmaceutica! sciences, or a related field (or the equivalent) with several

            years of experience with pharmaceutical formulation. Also, a person of



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            ordinary skill in the art may have worked as part of a multidisciplinary

            tearn- including a chemical engineer, microbiologist, or polymer
            chemist-and drawn upon not only his or her own skills, but also taken

            advantage of certain specialized skills of others on the team, e.9., to solve

            a given problem." ln my opinion, this is a person of extraordinary skill.

      44.   ln my experience, formulators of ordinary skill would likely not have the

            level of education and experience set forth by Amiji. Based on my

            experience in the pharmaceutical industry, it is my opinion that a

            formulator having ordinary skill would be able to duplicate the claimed

            embodiments with nothing more than the '802 Patent to guide them.

            Further, I do not find Amiji's assertion credible that his person having

            extraordinary skill would be unable to do what I found that a person of

            ordinary skill could accomplish.

                      prsPUTEp GLAIM TERMS OF THS'802 PATENT

      45.   I am not an attomey. I understand that the property of a claim being
            indefinite is a legal determination, which is in the province of the Court.

            Therefore, I will not use this terminology. lnstead, I will opine on whether

            the disputed claim terms are sufficiently unambiguous to enable one of

            ordinary skill to understand and practice the inventions set forth in the

            claims.

      46.   ln providing my opinions, I realize that I need to place myself into the time

            period when the application ultimately issuing as the'802 Patent was filed.

            That priority filing date was July 7, 2008. Based on my experience, it is



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            my opinion that the qualifications of a formulator of ordinary skill were

            exactly the same in July 2008 as they are today.

      47-   Where feasible, I prefer the plain language definitions of the various claim

            terms. Where there are multiple plain language definitions, I choose the

            most applicable from among them. However, I also look to the
            specification of the '802 Patent and the USPTO prosecution history for

            guidance.

      48.   ElectJostaticallv lnhibitins - to construct this term, one needs to

            examine its context in the claims. The preamble of claim 1 begins with a

            "method for electrostatically inhibiting harmful particulate matter from

            infecting an individual ...n The preamble of claim 2 begins with a

            "formulation for electrostatically inhibiting harmful particulate matter from

            infecting an individual ...' These words of the preamble suggest a use for

            the method and formulation that follow in the claims. The function of the

            claimed invention is "inhibiting harmful particulate matter from infecting an

            individual." The meaning of this phrase is clear and apparent. From the

            remainder of each claim 1 or 2, supported by the specification, the claim

            elements involve electrostatic fields. Claims 1 and 2 refer to electrostatic

            attraction, which is a well-known scientific phenomenon even to a high

            school physics student. Claim 2 requires its formulation to contain a

            cationic agent, which is known to possess a positive electrostatic charge.

            Thus it is clear that the term "electrostaticallv in          ' in the claims
            means inhibitins harmful particulate matter flgm infecting an individual



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                using the means of creating an electrostatic fie14. This interpretation is

                supported by the specification of the '802 Patent.

      49.       Exhibit 3 of Amiji's declaration (ECF No. 384) is a copy of the first USPTO

                office action affording a non-final rejection to the '802 Patent Application.

                As originally submitted, the usage term in claims 1 and 2 was
                "electrostatically preventing." !n his office action, the examiner required

                amending the daim by changing the term "electrostatically preventing" to

                'electrostatically inhibiting." Clearly, the examiner understood the

                connotations of this term. The examiner stated:

                        ln reading the present specification as a whole, it appears
                       that the tenar thereof is that infections, whether they cause a
                       pathology or not, may be inhibited 1 rather then be
                       prevented. The former allowing at least one infectious
                       material fo pass into the sysfem of the host rather than the
                       lafter which indicates that not even one of the infectious
                       material is allowed to infect, i.e., pass into the sysfem of the
                        host.

      50.       Electrostaticallv Attractinq - The specification of the '802 Patent is

                replete with references that explain the meaning of this term. For

                example, the Abstract states: "The formulation when applied creates an

                electrostatic field having a charge. The electrostatic field attracts airborne

                particulates of opposite charge to the substrate that are in close proximity

                to the substrate ..." Elec*rostatic aftraction is a well-known fundamental

                principle of physics. Changing the grammatical usage of the term to

                electrostatically attractinq merely recites what the formulation of claims 1

                and 2 is doing. The meaning of this term is apparent and unambiguous.


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          Emphasis supplied.


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      51.   Adequate Impermeabilitv - This term cannot be read out-of-context. It

            must be read in terms of the "hold" function discussed by me earlier.

            Claim 1 recites 'holding" as a method step, while claim 2 recites that the

            formulation "holds.n The claim element of each daim reads,

            "[holdinglholds] the particulate matter in place by adjusting the adhesion of

            the thin film to permit said thin film to stick to the skin or tissue and by

            adjusting the cohesion of the formulation to provide adequate
            impermeability to the thin film ..." The specification provides that the

            formulation shall contain a surfactant, a thickener, and a binder.

      52.   The term, "adequate impermeability" refers to the thin film of the
            formulation holdinq. harmful particles in place for a duration to prevent

            them from being dislodged in to the air stream again. ('802 Patent at 3:2.)

            This is done by varying the concentration of ingredients (such as a

            surfactiant, a thickener, and a binder (ld. at 5:9-13), thus adjusting the

            adhesion and cohesion of the thin film. The particles are held in place by

            making the thin film impermeable. The adhesion of the thin film is

            adjusted so that it adheres to the nasal tissue. The cohesion of the thin

            film is adjusted to make it tacky and sticky. Finally, the harmful particles

            stick to the thin film until they can be inactivated. Here, the term

            "impermeable" is given its plain and ordinary meaning. This would be

            understood by a formulator having ordinary skill-

      53.   As the concentrations of the ingredients are adjusted, the thickness,
            tackiness, and stickiness (i.e., permeability) of the thin film changes.



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            Determination of adequate permeability is a term of degree, and the

            material composition to accomplish the intended purpose depends on the

            desired efficacy. The '802 Patent specification provides examples of the

            ingredients that would affect permeability, and the ten examples provide

            the ranges of these ingredients that would produce formulations that
            function as in the claims. Following the road map provided by the patent's

            specification, adjusting the formulation to provide the desired permeability

            is straightforward. Once again, this is not "rocket science." This is what

            formulators do allthe time.

      54.   Renderlsl Said Particulate Matter Harmless - As discussed earlier, the

            functions of claims 1,2,6, and 7 can be summarized as "catch," "hold,"

            and "kill.* (1) Regarding the "catch" function, harmful electrostatically

            charged particles (including microorganisms) are attracted to the

            oppositely charged thin film of the formulation that adheres to the skin or

            tissue of the individual's nasal passages. They are captured by the

            formulation's thin film. (2) Regarding the "hold" function, the harmful

            particles stick to the thin film which is tacky and impermeable. They are

            prevented from reentering the air stream and into the individual's

            respiratory system. (3) Regarding the "kill" function, the harmful particles

            are "held" in contact with a biocide (such as benzalkonium chloride) for a

            sufficient period to enable them to be deactivated.

      55.   The term, "Render[s] Said Particulate Matter Harmless," may not be

            read in a vacuum. lt must be read in light of the specification and the



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               prosecution history of the '802 Patent. This term is discussed in the

               specification and the claims. The Abstract states, "[t]he electrostatic field

               attracts airbome particulates of opposite charge to the substrate that are

               in close proximity to the substrate close to the skin and a biopidic agent

               renders microorganisms cominq in contact the sUbstrate or skin less

               harmfu!."
                            2 The specification (at 2:6) states that the Present lnvention
               'inactivates" the harmful particles "dermallly outside the body and

               render[s] them harmless." Further (at 3:12), the specification states, "trap

               and hold particulates and microorganisms and to simultaneously
               inactivate, kill, or render harmless the microorganisms so trapped." Here,

               the significance of this statement is the correlative conjunction "or-" This

               shows the term, "render harmless," as being equivalent to inactivation and

               killing. Finally, in the prosecution history, the reasoning behind the
               examiner's rejection of the word "preventing" in the claims and

               recommending substituting the word "inhibiting," was to show that, "[t]he

               former allowing at least one infectious material to pass into the system of

               the host rather than the latter which indicates that not even one of the

               infectious material is allowed to infect, i.e., pass into the system of the

               host." Thus, the term, "render[s] said particulate matter harnless," refers

               to preventing at least some of the infectious material from passing into the

               system of the host by inactivating or killing it, thereby rendering it "less

               harmful.' (See Abstract.) Even though some particulate matter may be


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          Emphasis added.
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            inhaled by the individual, those harmful particles that are held, inactivated,

            or killed are rendered harmless.

      56.   Patent claims are often incomprehensible by lay persons because the

            words and sentence structure are purposed as legal instruments rather

            than as nanatives to be understood by the general public. Claims are

            long run-on sentences containing words that may be unfamiliar to the

            layman. Claims are not written with proper English syntax. However, in

            the case of claims 1, 2,6, and 7 of the '802 Patent, the words appear to

            have been given their plain meaning and the clauses are separately

            enumerated. ln my opinion, a person of ordinary skill (i.e., a formulator of

            pharmaceutical preparations) would be able to read these claims in light of

            the specification, understand their meanings, and from them he or she

            would have no difficulty in creating the disclosed embodiment
            compositions without undue experimentation.



      I make this declaration and the statements therein under pains and penalties of

      perjury under the laws of the United States and the State of Michigan.




             Edward A. Lemmo




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                           LEMMO
                        EXHIBIT A
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                            Email: edlemmo@gmail.com


   EDUCATION

   Ph.D. Nutrition Science, Rutgers University, New Brunswick, NJ (1979)
   M.S. Nutrition Science, Rutgers University, New Brunswick, NJ (1977)
   B.S. Chemistry, St. Francis College, Brooklyn, NY (1973)


   EXECUTIVE TRAINING COURSES

   Executive Leadership Program, Princeton, NJ
   Time Management Skills, Teaneck, NJ
   Media Communication Skills, New York City, NY


   EMPLOYMENT EXPERIENCE

   2007-Present       Consumer Healthcare Corporate Consultant
                      Self-employed Consultant - Consumer Healthcare

   2005-2007          BioBalance Corporation, New York, NY
                      Vice President, Product Development

                      Person primarily responsible for investigating its probiotic
                      product PROBACTRIX™ to be used for treating pouchitis
                      and other gastrointestinal disorders. Probiotic products are
                      an optional alternative to the probiotic Lactobacillus
                      acidophilus. In charge of all scientific product evaluation
                      conducted at company headquarters.

   1999-2005          Wyeth Consumer Healthcare, Leonia and Madison, NJ
                      Vice President, Product Development

                      Division of American Home Products
                      Formerly Whitehall-Robbins Consumer Healthcare

                      Managed product development for SOLGAR®, and
                      contributed towards CENTRUM®, and CALTRATE®, brands.
                      Responsible role in scientific affairs and new business
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                     development opportunities.         Further, responsible    for
                     evaluation of acquisition of new business entities.

   1992-1999         General Nutrition Centers, Inc., Pittsburg, PA
                     Director, Nutritional Sciences

                     Analyzed safety of amino acid products for presentation to
                     the FDA and FTC and other U.S. government agencies.
                     Evaluated and made recommendations regarding nutritional
                     and homeopathic products. Performed quality assurance
                     activities related to label claims and product safety.
                     Responsible for introduction of the new PRO-
                     PERFORMANCE sports nutrition product line into the GNC
                     retail marketplace.

                     In 1993, for Quigley Corporation, I evaluated the safety and
                     efficacy of Cold-EEZE® zinc lozenges to be used to shorten
                     a common cold as a possible line of homeopathic products
                     exclusively marketed by GNC.

   1989-1992         Pall Biomedical Products, Glen Cove, NY
                     Marketing Manager

                     Responsible for marketing activities of Intravenous filtration
                     devices, and Heat and Moisture exchange respiratory
                     products. Wrote all scientific evaluation documents related
                     to Heat and Moisture Exchange respiratory product for
                     presentation to anesthesiologists regarding prevention of
                     injury from patients breathing cold dry gas during surgery.
                     Developed scientific presentations, videos, and product
                     marketing material for use by healthcare professionals.

   1984-1989         ICN Pharmaceuticals, Costa Mesa, CA
                     Director of Nutritional Technology

                     Faraday Laboratories Division

                     Product development of nutritional supplements for use by
                     chiropractic and alternative health practitioners throughout
                     the United States and Canada. Product brands included
                     Nutridyn® and Sivad Bioresearch®. Responsible for new
                     product development, wrote technical literature, and
                     prepared and delivered scientific educational presentations
                     to practitioners at chiropractic colleges and chiropractic
                     meetings.




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   1976-1977         Pharmacia Laboratories, Piscataway, NJ
                     Clinical Trials Coordinator

                     Assisted veterinarian in analysis of equine blood samples.
                     Performed evaluation analysis of HEALON® products
                     comprising hyaluronic acid, and their effect on tissues.

                     CORPORATE CONSULTING EXPERIENCE

   2011              Matrixx Initiatives, Inc., Princeton, NJ
                     Scientific Affairs Consultant

                     Performed research associated with ZICAM® oral zinc
                     product. Provided guidance for coordinating research trials.
                     Managed human efficacy clinical trials.


   1998-1999         Church & Dwight, Princeton, NJ
                     Scientific Advisor

                     Evaluated consumer healthcare products. Explored and
                     determined market for magnesium based organo-metalic
                     agents for use in dietary supplements.

   1998-1999         IVC Industries, Freehold, NJ

                     IVC is a contract manufacturer of generic vitamins.
                     Responsible for new product development. Assisted the
                     marketing staff with product label claims.

   1996              Nutrition 21, Purchase, NY

                     Company is a supplier to GNC. Performed consulting work
                     regarding their products.

   1996              Nutramerica, Lincoln Park, NJ

                     Technical advisor for the development of a dietary
                     supplement product line.




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   CORPORATE CONSULTING EXPERIENCE (continued)

   1996              American Vitamin, Ramsey, NJ

                     Company is a contract manufacturer. Performed new
                     product development and assistance with evaluation of raw
                     materials from India.


   COLLEGE TEACHING EXPERIENCE

   2013-2018         Touro College, New York City, NY

                     Taught in nursing school.Courses included pathophysiology,
                     genetics, anatomy and physiology and tutored microbiology

   2008-2014         University of Medicine & Dentistry of New Jersey
                     (UMDNJ), Newark, NJ

                     Taught innutrition program. Courses includedgeneral
                     chemistry, anatomy and physiology, biochemistry, and
                     microbiology.

   1977 and          New York University, New York, NY

   2000-2003         Taught in graduate nutrition program, vitamin and mineral
                     metabolism

   2011-2012         Cedar Crest College, Allentown, PA

                     Taught courses in nutritional biochemistry and metabolism.

   1984-1989         University of New Haven, West Haven, CT

                     Taught graduate level course in vitamin and mineral
   nutrition.

   1974-1984         Brooklyn College, CUNY, Brooklyn, NY
                     Assistant Professor

                     Taught nutrition courses to pre-medical and nutrition
                     students.

   1973-1977         Rutgers University, Piscataway, NJ

                     Taught general biology lab and mineral metabolism.



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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


       TRUTEK CORP.,                            Case No. 2:21-cv-10312

                           Plaintiff,           Hon. Stephen J. Murphy, III

       v.

    BLUEWILLOW BIOLOGICS,
    INC., et. al.

                      Defendants.



                           CERTIFICATE OF SERVICE


            I certify that on September 27, 2022, I served the foregoing Plaintiff’s

   Responsive Brief on Claim Construction Issues for Markman Hearing upon

   all parties herein by filing copies of same using the ECF System.




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